Case 1:23-cv-

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IN THE UNITED STATES DISTRICT courts eet ALE
FOR THE DISTRICT OF MAINE 7" ae
6) Fr * 7073 ole 22 > I 20
sf sf | . 2 : Complaint for a Civil Case _

vai ted

Civil No.

this complaint. If the names of all the plaintiffs
cannot fit mn the space above, please write | see Tory Trial: Yes OO No
attached” in the space and attach an additional

(check one)

page with the full list of names.)

(Write the full name of each plaintiff who is filing (io be filled in “) Clerk’s Office)

-against-

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name

Street Address
City and County
State and Zip Code _MAtne QUA 4
Telephone Number -
E-mail Address W\

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address
(if known)

Defendant No. 2

Name

Job or Title

(if known)
Street Address
City and County

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State and Zip Code Nadns — O 10 lo) we *
Telephone Number _thalknoa
E-mail Address (altro

Gf known)

Defendant No. 3

Name

Job or Title

Gf known)
Street Address
City and County __ ( j
State and 2p Code _N \ u
Telephone Number AOWA

E-mail Address Vale powtin
(if known)

Defendant No. 4

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address Landry In

(if known) \
II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State

as any plaintiff.
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What wp for federal court jurisdiction? (check all that apply)

Federal question [] Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. ~ The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

(f more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

Ze The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , 1s a citizen of
the State of (name) . Or isa citizen of

(foreign nation)

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b. Ifthe defendant is a corporation

The defendant, (name) , 1s
incorporated under the laws of the State of (name)
, and has its principal place of

business in the State of (name) . Oris

incorporated under the laws of (foreign nation)
, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional

defendant.)
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest

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TI. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach

additional pages if needed.

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IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to

actual or punitive money damages. f\ | . M\

Closing
I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. | understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing , 20

Signature of Plaintiff

Printed Name of Plaintiff
